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Attorneys for Defendant LUK AFTERMARKET SERVICE, LLC


                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF UTAH


 SALLY SYLVESTER, Individually and as           ORDER ON JOINT MOTION TO
 Personal Representative of the Estate of       DISMISS DEFENDANT LUK
 JESSE LABRUM, Deceased, DIANE                  AFTERMARKET SERVICE, LLC
 LARSEN, CAROLYN DUTSON, DON                    WITHOUT PREJUDICE
 LABRUM, GARY LABRUM, DOYLE
 LABRUM, WAYNE LABRUM and BRUCE                 Case No. 2:18-cv-00470-DB
 LABRUM,
                                                The Honorable Dee Benson
 Plaintiffs,
                                                Magistrate Judge Cecilia M. Romero
 vs.

 BLUE BIRD CORPORATION, et al.,
 (Including LUK AFTERMARKET
 SERVICE, LLC),

 Defendants.



        The Court having reviewed the Joint Motion to Dismiss Defendant LuK Aftermarket

Service LLC, Without Prejudice (ECF No. 164) filed on behalf of Plaintiff Sally Sylvester,

individually and as Personal Representative of the estate of Jesse Labrum, Deceased, Diane

Larsen, Carolyn Dutson, Don Labrum, Gary Labrum, Doyle Labrum, Wayne Labrum and

Bruce Labrum and Defendant LuK Aftermarket Service LLC, and good cause appearing



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therefore, IT IS HEREBY ORDERED that all claims and causes of action contained in Plaintiff's

Complaint and all amendments thereto against Defendant LuK Aftermarket Service LLC shall

be dismissed without prejudice, each party to bear their own attorneys' fees and costs.

        This order pertains solely to Defendant LuK Aftermarket Service LLC and no other

defendant.

        Dated this 23rd day of November, 2020.


                                            _____________________________
                                            Honorable Dee Benson
                                            United States District Court Judge


Approved as to form:

/s/ Katherine Venti
Katherine Venti
PARSONS BEHLE & LATIMER
Attorneys for LUK AFTERMARKET SERVICE, LLC


/s/ Lawrence K. Holcomb
(Pro Hac Vice)
FLINT LAW FIRM, LLC
Attorneys for Plaintiff
(signed with permission)




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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 20th day of November, 2020, I caused a true and correct copy

of the foregoing proposed ORDER ON JOINT MOTION TO DISMISS DEFENDANT

LUK AFTERMARKET SERVICE, LLC WITHOUT PREJUDICE to be filed electronically

via the Court’s CM/ECF system, which sent notification of such filing on all counsel of record.



                                             /s/ Katherine Venti




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